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From: maimons@aol.com,

To: disabilityrights@manninglawoffice.com, adapracticegroup@manninglawoffice.com, joe@manninglawoffice.com,
pgrace@manninglawoffice.com,

Subject: Fwd: James Rutherford v VKND Kendall, LLC/USDC Case No. Cv20-01746-JGB-SP
Date: Fri, Jul 16, 2021 6:13 pm
Attachments: Patelvic7-16-21responsetointerrogitories.pdf (792K), Patelvic7-16-21ResponsetoRFPD. pdf (1460K)
Dear Mr. Manning:
Attached please find the following verified discovery responses
in the above referenced case: (1) Response to First

Set for Production of Documents; (2) Response to First
Set of Interrogatories; (3) Documents in response to (2).

Because of the volume the documents will be e-mailed
separately.

| appreciate your courtesy and cooperation in the matter.
Sincerely,

Frank A. Weiser

Attorney at :Law

3460 Wilshire Blvd., Ste. 1212
Los Angeles, CA 90010

(213) 384-6964 - (voice)

(213) 383-7368 - (fax)
maimons@aol.com - (e-mail)

https://mail.aol.com/webmail-std/en-us/PrintMessage

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FRANK A. WEISER (S.B. #89780)
Attorney at Law

3460 Wilshire Blvd., #1212

Los Angeles, California 90010
(213) 384-6964 - (voice)

(213) 383-7368 - (fax)
maimons@aol.com - (e-mail)

Attorney for Defendant
VKND KENDALL LLC,

a California limited liability
company

JAMES RUTHERFORD,

Plaintiff,

VS.

VEKND KENDALL LLC,a California limited
liability company; and DOES 1-10,

Defendants.

 

 

 

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UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

Case No. CV20-01746-JGB-SP

RESPONSE TO FIRST SET
OF INTERROGATORIES

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PROPOUNDING PARTY: Plaintiff JAMES RUTHERFORD
RESPONDING PARTY: Defendant V&ND KENDALL LLC,
A Californiaifornia limited liability
company
SET NUMBER: ONE
Pursuant to Federal Rule Civil Procedure, Rule 33 Defendant VKND
KENDALL LLC, a California limited liability company ("Defendant," ot “VKND LLC”),
responds to the First Set of Interrogatories propounded by Plaintiff J AMES RUTHERFORD
("Plaintiff"). attached hereto as Exhibit “A”
RESPONSE TO INTERROGATORY NO. 1:
The list of documents are as follows:
1. CASP report from Craig Lobnow of ProCasp from
site inspection of May 12, 2017;
2. Copy of cashed Bank of America from VKND Kendall LLC
to Jose Recino for $10,500.00 dated June 25, 2017 for fixing 6 parking spaces at the subject
property in accordance with the ADA on June 15, 2017;
3. 4 pictures of subject property parking lot regarding ADA parking spaces;
4. The type of operations including the name of the lessece, the ‘unit number
and square feet of unit at subject property,
5. VKND LLC Profit & Loss Statements for years 2016 to 2020 for subject
property;

6. State of California Secretary of State Limited Liability Company Articles of

 
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Organization filed August 14, 2012;
RESPONSE TO INTERROGATORY NO. 2:
Net Income for subject property as follows:
Year 2016 - $61,575.00
Year 2017 - $36,572.00
Year 2018 - $32,069.00
Year 2019 - $54,397.00
Year 2020- -$63,198.00
RESPONSE TO INTERROGATORY NO. 3:
Net Worth for subject property as follows:
Year 2016 - $199,558.00
Year 2017 - $253,399.00
Year 2018 - $317,097.00
Year 2019 - $378,158.00
Year 2020- -$426,752.00
RESPONSE TO INTERROGATORY NO. 4:
Do not contend this.
RESPONSE TO INTERROGATORY NO. 5:
None by VKND. Do not know the number of persons
employed by lesseees who will not provide this information.

RESPONSE TO INTERROGATORY NO. 6:

 

The type of operations including the name of the

lesseee, the unit number and square feet of unit is listed in the attached

Page ID #:517

 
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Exhibit “B”,
RESPONSE TO INTERROGATORY NO. 7:
Do not contend this.
RESPONSE TO INTERROGATORY NO. 8:
Do not contend this.

RESPONSE TO INTERROGATORY NO. 9:

Do not contend this.
RESPONSE TO INTERROGATORY NO. 10:

Do not contend this.

RESPONSE TO INTERROGATORY NO. 11:

The defendant was assigned and assumed the ground
lease to the subject property on April 24, 2015. The defendant obtained a
CASP report from Craig Lobnow of ProCasp located at 23882 MatdorWay, °
Murrieta, CA 92562, (951) 219-1889 regarding the subject property parking lot
by way of a site inspection of May 12, 2017 and then fixed 6 parking spaces at the subject
property in accordance with the ADA on June 15, 2017 with a Jose Recino, a contractor whose
address is 3833 Buchanan Street, Riverside, CA 92562.

RESPONSE TO INTERROGATORY NO. 12:

Same response as response to interrogatory no. 11.

RESPONSE TO INTERROGATORY NO. 13:

Same response as response to interrogatory no. 11.

RESPONSE TO INTERROGATORY NO. 14:

$10,500.00

 

 

 
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| RESPONSE TO_INTERROGATORY NO. 15:
June 15, 2017

RESPONSE TO INTERROGATORY NO. 16:

5 Same response as response to interrogatory no. 11.
6 RESPONSE TO INTERROGATORY NO. 17:
The list of documents are as follows:
1. CASP report from Craig Lobnow of ProCasp from
10 site inspection of May 12, 2017;
NM 2. Copy of cashed Bank of America from VKND Kendall LLC
to Jise Recino for $10,500.00 dated June 25, 2017 for fixing 6 parking spaces at the subject
property in accordance with the ADA on June 15, 2017;
3. 4 pictures of subject property parking lot regarding ADA parking spaces
16 RESPONSE TO INTERROGATORY NO. 18:

Same response as response to interrogatory no. 11.

RESPONSE TO INTERROGATORY NO. 19:

1. Vishnu Patel

20

21 5434 Ram Court

cs Rancho Cucamonga, CA 91737
» (909) 376-5453 - (Cell)

7 . (909) 941-8060 - (Office)

26 (909) 980-3979 - (Fax)

ad patelvic@aol.com- (E-Mail)

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2. Deep Patel

 

 

 
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5434 Ram Court
Rancho Cucamonga, CA 91737
(909) 510-0953 - (Cell)
(909) 941-8060 - (Office)
(909) 980-3979 - (Fax)
dpatel0607@aol.com- (E-Mail)
3. Craig Lobnow of ProCasp located at 23882 MatdorWay,
Murrieta, CA 92562, (951) 219-1889 (cell), craig@procasp.com (e-mail)
4, ' Jose Recino whose address is 3833 Buchanan Street, Riverside, CA 92562,
(951) 237-3053 (cell), do not know his e-mail address if any..
RESPONSE TO INTERROGATORY NO. 20:
Same response as response to interrogatory no. 17.

RESPONSE TO INTERROGATORY NO. 21:

None

RESPONSE TO INTERROGATORY NO. 22
May 12, 2017

DATED: July 16, 2021 LAW OFFICES OF FRANK A.
WEISER

By: “Se QD QWs
FRANK A. WEISER, Attorney for
Defendant VEND KENDALL LLC,
a California limited liability
company

 
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EXHIBIT “A”

 
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con DN ww BR WN KF CS UO FI KD HH FSF WY - &

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Joseph R. Manning, Jr., Esq. (State Bar No. 223381)
MANNING LAW, APC

20062 S.W. Birch St., Suite 200

Newport Beach, CA 92660

Office: (949) 200-8755
ADAPracticeGroup@manninglawoffice.com

Attorneys for Plaintiff: JAMES RUTHERFORD

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

JAMES RUTHERFORD, an Case No.: 5:20-ev-01746-JGB-SP

individuals PLAINTIFF'S FIRST SET OF
Plaintiff, INTERROGATORIES TO
DEFENDANT VKND KENDALL LLC,
v. a California limited liability company

VKND KENDALL LLC, a California
limited liability company; and DOES
1-10, inclusive,

Defendants.

 

 

Pursuant to Federal Rules of Civil Procedure, Rule 33, Plaintiff JAMES
RUTHERFORD (“Plaintiff”) submit the following Interrogatories to Defendant
VKND KENDALL LLC, a California limited liability company (“Defendant”) and
request that full and complete responses be provided within thirty (30) days after

service hereof.

 

PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT
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on DO A BR WwW NY KK CO OO MB HI KH A BP WwW NY —= CO

DEFINITIONS
"YOU" includes VKND KENDALL LLC, a California limited liability
company (“Defendant”) the company, entity, institution, agency, subsidiary(ies),
parent corporation(s) and/or any of its branches, departments, employees, agents,
contractual affiliates, or otherwise connected by legal relationship, in the broadest
sense. "YOU" includes any of YOUR sister companies or related entities, and

their connected companies, whether or not separately incorporated.
The terms “PLAINTIFF” refers to JAMES RUTHERFORD.

The terms “ACCESS,” “ACCESSIBLITY,” or “ACCESSIBLE” refers to
disability or handicap access as that term is used in the Americans with
Disabilities Act (the “ADA”).

The term “DISABILITY ACCESS LAWS” means all federal, state, and local
laws and implementing regulations relating to access of the disabled,
including but not limited to, the ADA, the Unruh Civil Rights Act, the 199]
ADA Standards for Accessible Design, and the 2010 ADA Standards for
Accessible Design.

“DATE” shall mean the exact date, month and year, if ascertainable or, if not,
the best approximation of the date (based upon relationship with other events),
“AGENT” shall mean: any agent, employee, officer, director, attorney,
independent contractor or any other person acting at the direction of or on the
behalf of another.

The term “ALTERATION” means any change to a facility that affects
usability, including remodeling, renovation, rearrangements in structural parts,
and changes or rearrangement of walls and full-height partitions.

The term “REMEDIATION” means the process of eliminating accessibility
barriers for people with disabilities.

The term “READILY ACHIEVABLE” means easily accomplishable and able

to be carried out without much difficulty or expense.

 

 

 

PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT
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The term “UNDUE BURDEN” means significant difficulty or expense.
COMMUNICATION shall be interpreted broadly to include any and all
DOCUMENTS which, in any way, refer or relate to or otherwise evidences
information, ideas or oral, written or physical acts, whether or not intended to
be transmitted or received,

“COMPLAINT” refers to the Complaint on file in the United States District
Court for the Central District of California, Case No.: 5:20-cv-01746-JGB-
SP.

The term “DOCUMENTS” shall have the broadest possible meaning and
encompass, without limitation, the terms “in writing” and “recordings” as
defined without limitations all written, graphic or otherwise recorded matter,
however produced or reproduced, including the originals [or any copies when
originals are not available] and non-identical copies [where different, for
example, because notes were made on such copies or because said copies may
have been sent to different individuals than the original, or for any other
reason] and preliminary or final drafts or records, and recordings of every
kind and description, including but not limited to, correspondences, teletype
messages, facsimiles messages, notes, report, compilations, drawings, plans,
pictures, computer printouts, computer disks and tapes, computer files,
computerized data of any kind, intranet and internet computer messages and
transmissions, inter-office and intra-office communications, financial
calculations and statements, working papers, statistical analysis, invoices,
purchase orders, expense accounts records, diaries, calendars, manuals,
pamphlets, contracts agreements, and any summaries and analysis of the
above, and all other recorded matter of every kind and nature.

The term “IDENTIFY”, with respect to DOCUMENTS, shall call for
disclosure of the location of the DOCUMENT and the name and
ADDRESSES of the custodian of the DOCUMENT sufficient to allow

 

 

 

PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT
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Propounding Party to frame a Request For Production of Documents or
Subpoena.

The term “IDENTIFY”, with respect to persons or entities, shall call for
disclosure of the first and last name for a person and/or legal name for an
entity, last known address, job title for a person, and last known telephone
number for any persons or entities described in any interrogatory sufficient to
allow Propounding Party to frame a notice of deposition and deposition
subpoena.

The terms “RELATE” or “RELATED” means concerning, relating,
composing, bearing upon, evidencing, constituting, stating, describing,
summarizing, explaining, mentioning, supporting, referencing, referring,
containing, showing, reflecting, memorializing, pertaining to or otherwise
having any connection directly or indirectly, in whole or in part, to the subject
matter of the subject interrogatory, request for admission or request for
production, including, but not limited to, all DOCUMENTS or
COMMUNICATIONS called for by the request herein,

The terms “RELATING TO” and “RELATES TO” mean, without limitation,
relating to, constituting, concerning, mentioning, referring to, describing,
summarizing, evidencing, listing, relevant to, demonstrating, tending to prove
or disprove, or explain.

The term “REFERS TO” as used herein shall mean constituting, consisting of,
or pertaining to, evidencing, supporting, contradicting, reflecting, or resulting
from the matter specified, including in each instance, DOCUMENTS now, or
previously attached or appended to or used in the preparation of any
DOCUMENT called for by each request.

The term “YOU,” “YOUR?” and “YOURSELF” for purposes of these requests

refers to the party to whom this request is directed, and its agents, employees,

 

PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT
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servants and professional advisors, including but not limited to YOUR

attorneys.

20, The term “SUBJECT PROPERTY” refers to the property situated at 25685
Redlands Blvd., Loma Linda, CA 92354.

21. “IDENTIFY ALL WITNESSES” requires YOU to list each person who is a
witness to any event or DOCUMENT requested and the person’s current or
last known contact information, including addresses, business phone numbers,
home phone numbers, mobile phone numbers, and email addresses.”

22. The Term “CERTIFIED ACCESS SPECIALIST” or “CASp”, as defined by
California Civil Code Section 55.52(a)(3), means any person who has been

certified pursuant to Section 4459.5 of the Government Code.

PLEASE NOTE: You are under a continuous obligation to
supplement your responses to this request for production under the

circumstances specified in Fed.R.Civ.P. 26(e).

INTERROGATORIES

Interrogatory No. |:

If YOU contend that REMEDIATION of the barriers identified in paragraphs
12 and 13 of the COMPLAINT at the SUBJECT PROPERTY are not READILY
ACHIEVABLE, please state all facts that support YOUR contention.
Interrogatory No. 2:

Please state YOUR net income from the SUBJECT PROPERTY for each year
from 2016 to the present.
Interrogatory No, 3:

Please state YOUR net worth for each year from 2016 to the present.

Interrogatory No. 4:

 

PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT
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If YOU contend that REMEDIATION of the barriers identified in paragraphs
12 and 13 of the COMPLAINT at the SUBJECT PROPERTY would fundamentally
alter the nature of goods, services, facilities, privileges, advantages, and
accommodations provided, please state all facts that support your contention.
Interrogatory No. 5:

Please state the total number of persons employed at the SUBJECT
PROPERTY for each year from 2016 to present, either by YOU or by others

(including lessees).

Interrogatory No, 6:
Please describe the type of operations that YOU and others (including lessees)

perform at the SUBJECT PROPERTY.

Interrogatory No. 7:

If YOU contend that REMEDIATION of the barriers identified in paragraphs
12 and 13 of the COMPLAINT at the SUBJECT PROPERTY are structurally
impracticable, please state all facts that support YOUR contention.
Interrogatory No. 8:

If YOU contend that REMEDIATION of the barriers identified in paragraphs
12 and 13 of the COMPLAINT will cause YOU an UNDUE BURDEN, please state
all facts that support YOUR contention.
Interrogatory No. 9:

If YOU contend that REMEDIATION of the barriers identified in paragraphs
12 and 13 of the COMPLAINT will cause YOU an UNDUE BURDEN, please
IDENTIFY all DOCUMENTS that support YOUR contention.
Interrogatory No. 10:

If YOU contend that REMEDIATION of the barriers identified in paragraphs
12 and 13 of the COMPLAINT will cause YOU an UNDUE BURDEN, please
IDENTIFY all WITNESSES with knowledge of YOUR contention.

Interrogatory No. 11:

 

PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT
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If YOU contend that YOU have complied in “good faith” with DISABILITY
ACCESS LAWS with respect to the barriers identified in paragraphs 12 and 13 of the
COMPLAINT, please state all facts that support YOUR contention.

Interrogatory No, 12:

If YOU contend that of the barriers identified in paragraphs 12 and 13 of the
COMPLAINT are not violations of DISABILITY ACCESS LAWS, please state all
facts that support YOUR contention.

Interrogatory No. 13:

Please describe all efforts undertaken since 2016 to make the SUBJECT
PROPERTY ACCESSIBLE to persons with disabilities.

Interrogatory No. 14;

Please state the cost of YOUR efforts undertaken since 2016 to make the
SUBJECT PROPERTY ACCESSIBLE to persons with disabilities.

Interrogatory No. 15:

Please state the completion date of any ALTERATIONS made to the
SUBJECT PROPERTY undertaken since 2010.

Interrogatory No. 16:

Please describe all ALTERATIONS made to the SUBJECT PROPERTY since
2010.
interrogatory No. 17:

Please IDENTIFY all DOCUMENTS RELATED TO all ALTERATIONS
made to the SUBJECT PROPERTY since 2010.

Interrogatory No. 18:

If any YOUR answers to any of Plaintiff's Requests for Admission was not an
unqualified admission, provide all facts that support YOUR refusal to admit to each
of such Requests for Admission.

Interrogatory No. 19:

 

PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT
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If any YOUR answers to any of Plaintiff’s Requests for Admission was not an
unqualified admission, IDENTIFY ALL WITNESSES that have knowledge of any
facts which support YOUR refusal to admit to each of such Requests for Admission.
Interrogatory No. 20:

If any YOUR answers to any of Plaintiff's Requests for Admission was not an
unqualified admission, IDENTIFY all DOCUMENTS that support YOUR refusal to
admit to each of such Requests for Admission.

Interrogatory No. 21:
Please IDENTIFY the name of each party who has initiated an ADA lawsuit

against YOU within the past 5 years.

Interrogatory No, 22:
Please IDENTIFY all DATES since January 1, 2010, that the SUBJECT

PROPERTY was inspected by a CERTIFIED ACCESS SPECIALIST.

Dated: March 10, 2021 MANNING LAW, APC

By: /s/ Joseph R. Manning Jr., Esq.
Joseph R. Manning Jr., Esq.
Attorneys for Plaintiff

 

PLAINTIFF'S FIRST SEF OF INTERROGATORIES TO DEFENDANT
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EXHIBIT “B”

 
Case 5:20-cv-01746-JGB-SP Document 39-2 Filed 10/25/21

OWNERS NAME
KIM LIEN THI NGUYEN
EMIL CATINEAN
PANKAJ LAVINGIA
MIKA CHIA
CHRISTINA LESSARD
DIEP VAN HO & HOA DANG
ALI ARAB
POLDITO RODRIGUEZ
POLDITO RODRIGUEZ
SONIA MANNAN
POLDITO RODRIGUEZ

KHANAM JIVANI
PRAPAT PUCKDEE
YVONNE LE

UNIT
#A
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HI/K/L
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USE
NAIL ART
WATER EXPRESS
SMOKE SHOP
TAX AND MORE
HAIR CUT ETC.
MASSAGE PARLOUR
SORRENTINO PIZZA
ORIENTAL GROCERY STORE
ORIENTAL GROCERY STORE
INDIAN GROCERY STORE
ORIENTAL GROCERY STORE

SUBWAY
VIETNAMESE
A-DONG RESTAURANT

Page 19 of 21 Page ID #:531

SQ. FT.
1268 Nail bnd Pedicure Shop
1749 Sells water
1357 Sells Cigrettes and smoking accessories
1379 Tax and accounting service
1465 Hair Cut and barber shop
1876 Body, massage place
2376 Pizzaj Parlour
2447 Storage place for Oriental groceries
3939 Sells loriental groceries
1511 Sells|Indian / bangla desi /pakistani groceries
1458 stitlge for Oriental groceries

 

1321 Subway shop
1416 Thai food restaurant
2563 Viets namies Restaurant

26125

 
 

 

 

 

 
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PROOF OF SERVICE

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. STATE OF CALIFORNIA )

= ) ss.

4 COUNTY OF LOS ANGELES )

5 | am employed in the County of Los Angeles, am over the age of 18 years, and not a

party to the within action. My business address is 3460 Wilshire Boulevard, Suite 1212, Los
° Angeles, California 90010.

On July 16, 2021, I served the document entitled RESPONSE TO FIRST SET
8 OF INTERROGATORIES on the interested parties in this action by e-mailing a true copy
thereof addressed as follows:

9

10 Joseph R. Manning, Jr., Esq.
Manning Law, APC
L 20062 S.W. Birch Street, Suite 200
12 Newport Beach, CA 92660
E-Mail: ADAPracticeGroup@manninglawoffice.com
13
bi BY U.S. MAIL: By First Class Mail I deposited such envelope with postage thereon fully
prepaid in the United States mail at Los Angeles, California.
15
X BY FEDERAL EXPRESS: I deposited such document in a federal express envelope fuily
6 prepaid at a Kinko's/Federal Express Office to be delivered to the persons listed as addressed
17 above.
18 X BY E-MAIL TRANSMISSION: I transmitted such document to the following party at
" the e-mail address listed above.
20 X (STATE) I declare under penalty of perjury under the laws of the State of California that
the foregoing is true and correct.
2]
22 Executed on July 16, 2021, at Los Angeles, California.
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Frank A. Weiser

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